
141 Cal.App.3d 397 (1983)
190 Cal. Rptr. 153
In re BRIAN B., a Person Coming Under the Juvenile Court Law.
SAN DIEGO COUNTY DEPARTMENT OF SOCIAL SERVICES, Plaintiff and Respondent,
v.
VALERIE D., Defendant and Appellant.
Docket No. 28197.
Court of Appeals of California, Fourth District, Division One.
March 25, 1983.
*398 COUNSEL
Christopher Blake, under appointment by the Court of Appeal, for Defendant and Appellant.
Edwin L. Miller, Jr., District Attorney, Peter G. Lehman and Edward J. Mantyla, Deputy District Attorneys, for Plaintiff and Respondent.
OPINION
THE COURT.[*]
Valerie D. appeals an order continuing her son as a dependent child of the court (Welf. &amp; Inst. Code, § 300) and ordering her to comply with a reunification plan to which she had consented.
We appointed counsel for the mother on appeal. Counsel has filed a brief setting forth the facts of the case. He presents no argument for reversal, but asks this court to review the record for error as is mandated by People v. Wende (1979) 25 Cal.3d 436 [158 Cal. Rptr. 839, 600 P.2d 1071].
(1) The People argue Wende does not apply to a civil proceeding. Parents in dependent children proceedings under Welfare and Institutions Code section 300 are entitled to the appointment of counsel (Welf. &amp; Inst. Code, § 317). That constitutes a legislative recognition of the strong fundamental rights involved when the People separate a child from his parents. We find no valid reason to accord a parent in that situation a lesser degree of review than is accorded a criminal defendant. While the court deciding In re Jessie H. (1981) 126 Cal. App.3d 1048 [178 Cal. Rptr. 205], did not address the specific issue here involved, the fact it dealt with a dependency proceeding by utilizing a *399 Wende review implicitly recognizes the availability of that review by an appellate court.
We granted appellant permission to file a brief on her own behalf. She has not responded. A review of the entire record has disclosed no reasonably arguable appellate issues. She consented to the order of the lower court. Appellant was competently represented by counsel below and on this appeal.
Order affirmed.
NOTES
[*]   Before Brown (Gerald), P.J., Cologne, J., and Staniforth, J.

